EXHIBIT 1
   ORLANS P.C REGISTERED AGENT
MASSACHUSETTS SECRETARY OF STATE
9/13/2019                                             Mass. Corporations, external master page




                       William Francis Galvin
                       Secretary of the Commonwealth of Massachusetts

    Corporations Division
                                                                                                           •
            Business Entity Summary
            ID Number: 001265582                                                 Request certificate ]   [ New search   I
            Summary for: ORLANS PC

            The exact name of the Foreign Corporation:              ORLANS PC
            Entity type:   Foreign Corporation
            Identification Number: 001265582                      Old ID Number:
            Date of Registration in Massachusetts:
            04-01-2017
                                                                  Last date certain:
            Organized under the laws of: State: MI Country: USA on: 02-13-1998
            Current Fiscal Month/Day: 12/31
            The location of the Principal Office:

            Address: 1650 WEST BIG BEAVER RD.
            City or town, State, Zip code,       TROY,    MI    48084      USA
            Country:
            The location of the Massachusetts office, if any:

            Address:
            City or town, State, Zip code,
            Country:
            The name and address of the Registered Agent:

            Name:      JULIE MORAN
            Address: 465 WAVERLEY OAKS RD.
            City or town, State, Zip code,       WALTHAM,        MA     02452        USA
            Country:
            The Officers and Directors of the Corporation:
                                    .                                        ~   -
             PRESIDENT         ALISON ORLANS                           1650 WEST BIG BEAVER RD. TROY, MI
                                                                       48084 USA
            TREASURER          LINDA ORLANS                            1650 WEST BIG BEAVER RD. TROY, MI
                                                                       48084 USA
             SECRETARY         ALISON ORLANS                           1650 WEST BIG BEAVER RD. TROY, MI
                                                                       48084 USA
             DIRECTOR           LINDA ORLANS                            1650 WEST BIG BEAVER RD. TROY, MI
corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?FEIN=001265582&SEARCH_TYPE=1                                       1/2
